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 Stephen J. Boraske | Associate
 856.853.5530
 sboraske@floriolaw.com

                                                                                  November 13, 2020
 VIA ECF
 The Honorable Zahid N. Quraishi, U.S.M.J.
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street, Room 2020
 Trenton, New Jersey 08608

         RE:     Defendants’ Position Statement: Disputed OPRA Settlement Term
                 McKeon v. City of Asbury Park et al, No. 3:19-cv-08536-MAS-ZNQ

 Dear Judge Quraishi:

        In accordance with the Court’s November 4, 2020 docket order, please accept this
 correspondence on behalf of Defendants the City of Asbury Park, Mayor John Moor, and Michael
 Capabiano (collectively, “Defendants”) setting forth Defendants’ position regarding Plaintiff
 Robert McKeon’s (“Plaintiff”) obligation to withdraw certain Open Public Records Act (OPRA)
 requests submitted to the City of Asbury Park in 2019 and 2020, as required by the Parties’ Term
 Sheet and Settlement Agreement.

        As will be further explained herein, it is Defendants’ position that there remain two
 outstanding OPRA requests filed by Plaintiff that are related to the instant Litigation (the
 “Disputed Requests”). 1 The Disputed Requests must be withdrawn in accordance with the Parties’
 Term Sheet and the Court’s September 25, 2020 Order and Opinion.

 I.      RELEVANT FACTUAL & PROCEDURAL BACKGROUND

         A.      The Litigation

         By way of brief background, Plaintiff’s claims and allegations in this case are based upon
 Plaintiff’s time as an employee of the City. The City hired Plaintiff who is a licensed attorney in
 the State of New Jersey in July of 2014 as the Director of Property Improvement and Neighborhood
 Preservation, a position that included oversight of a number of code enforcement and housing
 inspectors. Plaintiff himself was not a licensed inspector until approximately 2016, and had no
 prior experience in code inspection.



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  The Disputed Requests are identified as PR-359-2020 and PR-360-2020. True and correct copies of the
 Disputed Requests are attached hereto as Exhibit A.
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         Plaintiff alleges that beginning in 2017, he believed certain City housing inspectors were
 not carrying out inspections and that he attempted to correct the housing inspectors’ deficiencies.
 Plaintiff alleges the City Manager and Mayor intentionally frustrated his efforts by covering up
 employees’ conduct and discontinuing certain programs in his department. Plaintiff claims that
 when he objected, Defendants took retaliatory actions against him to force him out of his job.

         In early 2019, with facing pending disciplinary charges filed by the City, Plaintiff filed a
 three-count civil action complaint in the New Jersey Superior Court, Monmouth County, Docket
 MON-L-0537-19 against Defendants alleging violation of the Conscientious Employee Protection
 Act, N.J.S.A. 34:19-1 et seq. (“CEPA”); unlawful reprisal in violation of the New Jersey Law
 Against Discrimination, N.J.S.A. 10:5-12(d) (LAD), violation of the Family and Medical Leave
 Act, 29 U.S.C. 2601 et seq. (“FMLA”) (“Complaint”). Defendants removed the Complaint to the
 District Court in March 2019.

        B.       The Settlement and Term Sheet

        A settlement conference was held before Magistrate Judge Zahid N. Quraishi on August
 22, 2019. The matter was settled, and the Parties executed a hand-written settlement term sheet
 (“Term Sheet”). The Term Sheet states, in relevant part:

             •   “No additional OPRA requests or issues related to civil litigation by McKeon;”
             •   “Withdrawal of pending OPRA requests related to civil litigation.”

        C.       The Court’s September 25, 2020 Order & Opinion

         The Parties were able to memorialize some but not all of the foregoing terms in a formal
 settlement agreement. Because the Parties were significantly apart as to the scope of certain terms
 set forth in the Term Sheet, including the terms that required Plaintiff to withdraw pending OPRA
 requests related to the Litigation and refrain from filing future OPRA requests related to the
 Litigation, the Parties filed cross-motions to enforce separate settlement agreements.

        On September 25, 2020, the Court issued a detailed opinion resolving the disputed terms
 from the Term Sheet and clarifying the language to be included in the Parties’ final form of
 settlement agreement, including the language regarding the OPRA term:




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 (ECF No. 34 at p. 13).

 The Court ordered the Parties to submit an agreed upon form of settlement consistent with the
 Court’s opinion no later than October 9, 2020. (ECF No. 35).

        D.      Plaintiff’s Pending OPRA Requests & The Disputed Requests

         Given the Court’s September 25, 2020 Opinion, the Parties understood and agreed that
 Plaintiff must withdraw pending OPRA requests “related to the Litigation” and cannot file future
 ORPA requests “related to the Litigation.”

         In the weeks since the Court’s opinion, the Parties have worked to resolve which of
 Plaintiff’s many pending OPRA requests are actually “related to the Litigation.” Plaintiff has
 submitted eighteen (18) OPRA requests to the City since the commencement of the instant
 Litigation. These eighteen requests contain as many as 160 or more “sub-requests,” through which
 Plaintiff seeks various categories of information and types of records as related to various City
 officials and employees.

         The Parties have worked out the majority of these requests and whether they are or are not
 “related to the instant Civil Litigation.” In addition to the Disputed Requests attached as Exhibit
 A, true and correct copies of all OPRA requests identified above that the Parties have agreed are
 “related to the Litigation” are attached hereto as Exhibit B. True and correct copies of all OPRA
 requests identified above that the Parties have agreed are not “related to the Litigation” are attached
 hereto as Exhibit C. For the Court’s ease of reference, the following table summarizes the
 settlement status of all relevant OPRA requests submitted by Plaintiff to the City since the filing
 of this Litigation.


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  OPRA               Sub-Requests
                                       Settlement Status
  Request ID           Included
  PR-376-2019              9           Parties agree related to Litigation and must be withdrawn.
  PR-377-2019              3           Parties agree related to Litigation and must be withdrawn.
  PR-378-2019              1           Parties agree related to Litigation and must be withdrawn.
  PR-379-2019             30+          Parties agree related to Litigation and must be withdrawn.
  PR-380-2019             25+          Parties agree related to Litigation and must be withdrawn.
  PR-381-2019             26           Parties agree related to Litigation and must be withdrawn.
  PR-599-2019              3           Parties agree related to Litigation and must be withdrawn.
  PR-346-2020              8           Parties agree not related to Litigation.
  PR-347-2020              3           Parties agree not related to Litigation.
  PR-348-2020              4           Parties agree related to Litigation and must be withdrawn.
  PR-349-2020             17           Parties agree not related to Litigation.
  PR-359-2020              5           DISPUTED – Parties disagree whether related to Litigation.
  PR-360-2020             11           DISPUTED – Parties disagree whether related to Litigation.
  PR-362-2020              4           Parties agree not related to Litigation.
  PR-363-2020              4           Parties agree not related to Litigation.
  PR-364-2020              4           Parties agree not related to Litigation.
  PR-365-2020              4           Parties agree not related to Litigation.
  PR-406-2020              2           Parties agree not related to Litigation.


 II.    ARGUMENT

        A.      The Disputed Requests Are Related to the Civil Litigation

       It is Defendants’ position that the Disputed Requests are related to the instant Litigation
 and must be withdrawn in accordance with the Parties’ Term Sheet and the Court’s September 25,
 2020 Order and Opinion.

         Whether the Disputed Requests must be withdrawn depends on the scope of the phrase in
 the Term Sheet “related to the instant civil litigation.” As the Parties agree and as the Court held
 in its September 25, 2020 Opinion, there is no dispute that the Term Sheet is a valid, binding
 settlement agreement between the Parties. Mosley v. Femina Fashions Inc., 356 N.J. Super. 118,
 126, 811 A.2d 910 (App.Div.2002), certif. denied, 176 N.J. 279 (2003). A settlement agreement
 between parties is a contract governed by basic contract principles and must be enforced
 accordingly. Capparelli v. Lopatin, 459 N.J. Super. 584, 603–04 (App. Div. 2019). The ultimate
 goal in interpreting a contract is ascertaining—and enforcing—the parties' manifested, objective
 intent. Am. Eagle Outfitters v. Lyle & Scott Ltd., 584 F.3d 575, 587 (3d Cir. 2009). When the
 “parties express their intent in language in [a] settlement agreement and were represented by
 skilled attorneys, [the] court should not look beyond that language to understand [the] agreement.”
 Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 282 (3d Cir. 2014) (citing Lubrizol v. Exxon
 Corp., 871 F.2d 1279, 1283 (5th Cir. 1989)).




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         The plain language of the Term Sheet states Plaintiff must withdraw and cease from
 submitting further OPRA requests “related to the instant Civil Litigation.” “Related,” as defined
 by Websters, means: “connected by reason of an established or discoverable relation,” with
 “relation” in turn defined as “an aspect or quality (such as resemblance) that connects two or more
 things or parts as being or belonging or working together or as being of the same kind.” 2

          While there does not appear to be any authority directly on-point that clearly defines the
 scope or meaning of the phrase “related to the instant Civil Litigation,” the phrase “related to
 litigation” has been examined and applied by courts in other contexts, often involving disputes
 over attorney fees and costs that may or may not “relate to litigation,” or whether materials and
 documents bear a sufficient nexus to anticipated litigation to be protected by the work product
 doctrine. See, e.g., New Jersey Sports Prods., Inc. v. Bobby Bostick Promotions, LLC, 405 N.J.
 Super. 173, 183 (Ch. Div. 2007) (examining whether pre-litigation correspondence is protected by
 the work product doctrine); Tenafly Eruv Ass'n, Inc. v. Borough of Tenafly, 195 Fed. Appx. 93,
 102 (3d Cir. 2006) (concluding that certain fees and costs were reasonable and sufficiently related
 to existing litigation to be recoverable as part of an attorney fee award).

          The case of New Jersey Sports Prods., Inc. v. Bobby Bostick Promotions, LLC, 405 N.J.
 Super. 173 (Ch. Div. 2007) provides an illustrative and analogous framework for assessing
 whether a document is “related to litigation.” In New Jersey Sports, the Chancery Division of the
 New Jersey Superior Court considered whether certain pre-litigation correspondence was
 protected by the work product doctrine. Id. at 183. The court noted that “[t]o be afforded
 protection, the contents of the letters(s) must bear a relationship to the subject matter of the action.”
 The court then looked at several specific factors to determine if the letter bore a sufficient
 relationship to the action so as to be privileged. Id. at 183–84. First, the court reviewed the specific
 language of the letter, noting that although “the letter makes no specific mention of litigation or
 threat thereof,” a fair reading of the letter suggests that it was sent in anticipation of future
 litigation. Id. at 184. The court further considered the “nature of the dispute,” the “past relationship
 between the parties,” and timing of the correspondence as bearing on whether the challenged letter
 related to the litigation so as to be privileged. Id.

         Plaintiff’s claims as set forth in the Complaint all relate to the City’s supposed “unfair” and
 “disparate” treatment of Plaintiff. In an effort to locate any evidence of his claims, Plaintiff
 submitted numerous OPRA requests in 2019, all of which he has now agreed to withdraw as
 “related to the instant Litigation.” These requests included e-mails between certain City officials
 and employees, including then City Manager Capobianco, that contained Plaintiff’s name (PR-
 376-2019, PR-380-2019), leave time requests for City employees other than Plaintiff (PR-377-
 2019), requests for all e-mails between the City Manager and counsel (PR-378-2019), and all legal
 invoices submitted to the City for payment (PR-348-2020), and blanket e-mail requests for all e-
 mails from various City officials, including the City Manager (PR-381-2019). These requests
 generally sought documents and information for a time period of 2018 and 2019.




 2
     Merriam Webster, https://www.merriam-webster.com/dictionary/related (accessed November 12, 2020).

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         There is no dispute that the foregoing 2019 requests and PR-348-2020 “relate to the
 Litigation” and are to be withdrawn. For all the same reasons, the Disputed Requests must also be
 withdrawn. Both the plain meaning of word “related” and all of the factors considered by the New
 Jersey Sports court support Defendants’ position that the Disputed Requests – like the 2019
 requests – are sufficiently related to the Litigation that they must be withdrawn per the Term Sheet.

         The Disputed Requests are remarkably similar to the above requests in that Plaintiff seeks
 e-mails between City officials – including the current City Manager – discussing Plaintiff from
 2019 to 2020, in almost exactly the same form as Plaintiff’s 2019 requests that sought e-mails from
 the former City Manager discussing Plaintiff over a similar timeframe. By way of the Disputed
 Requests, Plaintiff further seeks documents and information relating to how City officials handled
 similar OPRA requests submitted by other citizens besides Plaintiff, including requests submitted
 while Plaintiff was still an employee of the City and involved in active litigation adverse to the
 City. In other words, the Disputed Requests clearly “relate to the Litigation” because they seek
 relevant information over a relevant timeframe that could – for the sake of argument –
 support Plaintiff’s claims that the City has retaliated against him for his conduct as an employee.

         While in no way binding on this court, the comparable analysis in the New Jersey Sports
 case further supports Defendants’ position that the Disputed Requests must be withdrawn. A fair
 reading of the Disputed Requests confirms they are “related to the Litigation” for a number of
 reasons, including: (1) the subject matter and information sought by Plaintiff is similar (i.e.,
 seeking the City Manager’s e-mails with “McKeon” included; (2) the timeframe sought by the
 Disputed Requests, which includes 2019 and periods of time that overlap with the Litigation and
 Plaintiff’s 2019 requests; (3) the timing of the submission of the Disputed Requests, which were
 submitted long after the Term Sheet was executed; and (4) the relationships between the Parties,
 which has clearly been litigious. While the Disputed Requests do not specifically mention the
 Litigation, the nature of the Parties’ dispute – the supposed disparate and retaliatory treatment of
 Plaintiff by Defendants – renders the Disputed Requests related to the Litigation because Plaintiff
 appears to be pursuing documents and evidence that could support these claims. Taken together
 and viewed as a whole, the nature and timeframe of the records and information sought, the
 relationship of the Parties to one another, and the timing of the submission of the Disputed
 Requests confirm that the Disputed Requests r elate to the Litigation.

         The term “related to the Civil Litigation” therefore plainly encompasses the Disputed
 Requests. Defendants clearly intended that Plaintiff must withdraw all pending ORPA requests at
 the time the Term Sheet was signed. Plaintiff has complied with this term with respect to the
 OPRA requests pending at the time the Term Sheet was executed. Notwithstanding the Term
 Sheet, Defendants anticipated that Plaintiff would continue to inundate the City with additional
 OPRA requests, and so included a term that Plaintiff could not submit future requests “related to
 the Litigation.” While Plaintiff executed the Term Sheet, Plaintiff has not complied with this
 obligation to the extent he refuses to withdraw the Disputed Requests. The Disputed Requests
 must be withdrawn by Plaintiff for the Parties to execute in good faith a final form of settlement
 as directed by the Court’s September 25, 2020 Order and Opinion.




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 III.   CONCLUSION

        For all the foregoing reasons, Defendants respectfully request the Court enter an Order
 confirming that the Disputed Requests relate to the instant Civil Litigation and must be withdrawn
 in accordance with the Parties’ Term Sheet and the Court’s September 25, 2020 Opinion.

                                               Very truly yours,

                                               FLORIO PERRUCCI STEINHARDT
                                               CAPPELLI TIPTON & TAYLOR, LLC



                                       By:     ________________________
                                               Stephen J. Boraske, Esq.


 cc (via e-mail/ECF):          Patricia Barasch, Esq., Attorney for Plaintiff
                               Donna M. Vierio, City Manager
                               Eric Nemeth, Esq., General Counsel, NJIIF




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